          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 1 of 6




 1 SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
    A Limited Liability Partnership
 2  Including Professional Corporations
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   Four Embarcadero Ctr., 17th Floor
 4 San Francisco, CA 94111
   Telephone: (415) 434-9100
 5 Facsimile: (415) 434-3947
 6 Attorneys for Defendant,
   West Thomas Partners, LLC
 7
 8
                                    UNITED STATES DISTRICT COURT
 9
                              NORTHERN DISTRICT OF CALIFORNIA
10
11
   John Forrett, individually, and on behalf      Case No. 5:22-cv-02048-NC
12 of those similarly situated,
                                                  STIPULATION AND ORDER RE
13                     Plaintiff,                 CASE MANAGEMENT
                                                  CONFERENCE AS MODIFIED
14 vs.
                                                  The Honorable Nathanael M. Cousins
15 West Thomas Partners, LLC d/b/a GFB,
16                    Defendant.                  Filed: March 30, 2022
                                                  Summons Served: May 10, 2022
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                                                -1-                     5:22-cv-02048-NC
     SMRH:4891-8754-0616.1                                        STIPULATION AND] ORDER
                                                                                  RE CMC
          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 2 of 6




 1                                         STIPULATION
 2            Pursuant to Local Rules 6-2 and 7-12, Plaintiff John Forrett (“Plaintiff”),
 3 individually, and on behalf of those similarly situated, and Defendant West Thomas
 4 Partners, LLC (“Defendant” or “West Thomas”), jointly and respectfully request
 5 that the Court vacate the current Case Management Conference set for October 25,
 6 2023, to be re-set for some later date convenient for the Court in the event the Court
 7 does not grant the motion to dismiss in its entirety.
 8            IT IS SO STIPULATED.
 9
10   Dated: October 18, 2023
11                                  Respectfully submitted,
12
                                    SHEPPARD, MULLIN, RICHTER & HAMPTON LLP
13
14
                                    By                   /s/ Christopher Van Gundy
15
                                                       CHRISTOPHER VAN GUNDY
16
17                                                     Attorneys for Defendant
                                                   WEST THOMAS PARTNERS, LLC
18
19
     Dated: October 18, 2022
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22
23                                    By                    /s/ J. Ryan Gustafson
                                                          J. RYAN GUSTAFSON
24                                                         CHRISTINA W. KIM
25
                                                       Attorneys for Plaintiff
26
                                              JOHN FORRETT, individually, and on behalf
27                                                   of those similarly situated
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     SMRH:4891-8754-0616.1                                             STIPULATION AND ]ORDER
                                                                                       RE CMC
          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 3 of 6




 1            Pursuant to the Parties’ Stipulation, IT IS HEREBY ORDERED THAT the
 2 current Case Management Conference set for October 25, 2023 is continued to
 3 December 13, 2023, at 10:00 AM by telephone.
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 5 IT IS SO ORDERED.
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 8 Dated: October 18, 2023




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     SMRH:4891-8754-0616.1                                               STIPULATION AND [PROPOSED]
                                                                               ORDER TO VACATE CMC
          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 4 of 6




 1                                SIGNATURE ATTESTATION
 2            I hereby attest that all signatories listed above, on whose behalf this
 3 stipulation is submitted, concur in the filing’s content and have authorized the filing.
 4
 5 Dated: October 18, 2023                     By: /s/ Christopher Van Gundy
                                               Attorney for Defendant
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                                               West Thomas Partners
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     SMRH:4891-8754-0616.1                                          STIPULATION AND [PROPOSED]
                                                                          ORDER TO VACATE CMC
          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 5 of 6




 1                                         PROOF OF SERVICE
 2                           John Forrett v. West Thomas Partners, LLC d/b/a GFB
 3                                           5:22-cv-02048-NC
 4                  STATE OF CALIFORNIA, COUNTY OF SAN FRANCISCO
 5       At the time of service, I was over 18 years of age and not a party to this
   action. I am employed in the County of San Francisco, State of California. My
 6 business address is Four Embarcadero Center, 17th Floor, San Francisco, CA
   94111-4109.
 7
         On October 18, 2023, I served true copies of the following document(s)
 8 described as STIPULATION AND [PROPOSED] ORDER TO VACATE CASE
   MANAGEMENT CONFERENCE on the interested parties in this action as
 9 follows:
10                                            SERVICE LIST
11
12 Christopher T. Aumais,                             Attorneys for Plaintiff
   Christopher B. Good,                               JOHN FORRETT
13
   Ryan Gustafson,
14 GOOD GUSTAFSON AUMAIS LLP
   2330 Westwood Boulevard, Suite 103
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   Los Angeles, California 90064
16 Telephone: (310) 274-4663
   E-mail: cta@ggallp.com
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           cbg@ggallp.com
18         jrg@ggallp.com
19 Steffan T. Keeton                                  Attorneys for Plaintiff
20 THE KEETON FIRM LLC                                JOHN FORRETT
   100 S Commons, Ste. 102
21 Pittsburgh PA 15212
22 Tel: (888) 412-5291
   Email: stkeeton@keetonfirm.com
23
24        BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
   the document(s) with the Clerk of the Court by using the CM/ECF system.
25 Participants in the case who are registered CM/ECF users will be served by the
   CM/ECF system. Participants in the case who are not registered CM/ECF users will
26 be served by mail or by other means permitted by the court rules.
27       I declare under penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct and that I am employed in the office
28 of a member of the bar of this Court at whose direction the service was made.
                                                                                5:22-cv-02048-NC
     SMRH:4891-8754-0616.1                                            STIPULATION AND [PROPOSED]
                                                                            ORDER TO VACATE CMC
          Case 5:22-cv-02048-NC Document 65 Filed 10/19/23 Page 6 of 6




 1            Executed on October 18, 2023, at San Francisco, California.
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                                                 Justin Mychel Robinson-Williams
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     SMRH:4891-8754-0616.1                                      STIPULATION AND [PROPOSED]
                                                                      ORDER TO VACATE CMC
